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                                          January 4, 2024


VIA ECF
Honorable Loretta A. Preska
District Court Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007


Re:    INTERVENOR ALAN DERSHOWITZ’S LETTER MOTION
       TO UNSEAL DOCKET ENTRY 1026-3
       Giuffre v. Maxwell, Case No. 15-cv-7433-LAP

Dear Judge Preska:
        Intervenor Alan Dershowitz (hereinafter referred to as “Dershowitz”) joins in the letter
motion filed by Intervenors Julie Brown and Miami Herald Media Company (hereinafter
collectively referred to as “Herald”) requesting that the Court unseal Docket Entry 1026-3.
Dershowitz adopts the rationale and arguments as set forth within the Herald’s letter motion, filed
on this date, as Docket Entry 1021.
        Dershowitz has long advocated for unsealing and transparency in this matter. To
circumvent potential reporting inaccuracies and misplaced assumptions, the unsealing of Docket
Entry 1026-3 will be beneficial to the Intervenors, media, and public alike, and will assist with the
free flow of information into the public domain in accordance with the Court’s prior Order(s)
pertaining to unsealing.
       As such, Dershowitz respectfully requests that Docket Entry 1026-3 be unsealed.




                              [SIGNATURE PAGE TO FOLLOW]
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                                  Respectfully Submitted,

                                  AIDALA, BERTUNA & KAMINS P.C.


                            By:   _____________________________
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